

Freling v Gabryszak (2017 NY Slip Op 06832)





Freling v Gabryszak


2017 NY Slip Op 06832


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND WINSLOW, JJ.


1144 CA 16-01882

[*1]ANNALISE C. FRELING, PLAINTIFF-APPELLANT,
vDENNIS GABRYSZAK, ADAM LOCHER, SHELDON SILVER, NEW YORK STATE ASSEMBLY AND STATE OF NEW YORK, DEFENDANTS-RESPONDENTS. (APPEAL NO. 5.)






LAW OFFICES OF JOHN P. BARTOLOMEI &amp; ASSOCIATES, NIAGARA FALLS (JOHN P. BARTOLOMEI OF COUNSEL), FOR PLAINTIFF-APPELLANT.
CONNORS LLP, BUFFALO (NICHOLAS A. ROMANO OF COUNSEL), FOR DEFENDANT-RESPONDENT DENNIS GABRYSZAK. 
CHIACCHIA &amp; FLEMING, LLP, HAMBURG (ANDREW P. FLEMING OF COUNSEL), FOR DEFENDANT-RESPONDENT ADAM LOCHER. 
HOGAN LOVELLS US LLP, NEW YORK CITY (KENNETH KIRSCHNER OF COUNSEL), FOR DEFENDANT-RESPONDENT SHELDON SILVER.
ERIC T. SCHNEIDERMAN, ATTORNEY GENERAL, ALBANY (ROBERT M. GOLDFARB OF COUNSEL), FOR DEFENDANTS-RESPONDENTS NEW YORK STATE ASSEMBLY AND STATE OF NEW YORK.


	Appeal from an order of the Supreme Court, Erie County (Shirley Troutman, J.), entered December 23, 2015. The order, inter alia, granted the motions of defendants Sheldon Silver, the New York State Assembly, and the State of New York to dismiss the amended complaint against them, denied that part of the motion of defendant Dennis Gabryszak to dismiss the amended complaint against him with respect to the first and fourth causes of action, and sua sponte dismissed the amended complaint against defendant Adam Locher. 
It is hereby ORDERED that said appeal from so much of the order as sua sponte dismissed the amended complaint against defendant Adam Locher is unanimously dismissed (see Mohler v Nardone, 53 AD3d 600, 600; see generally Sholes v Meagher, 100 NY2d 333, 335), and the order is affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: September 29, 2017
Mark W. Bennett
Clerk of the Court








